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                                                                                               *Admitted in NY


                                                                         August 25, 2021

VIA ECF

Hon. Magistrate Judge Debra Freeman
Daniel Patrick Moynihan
United States Courthouse
500 Pearl St.
New York, NY 10007-1312

Re: Baliga, et al. v. Link Motion Inc., et al., No. 1:18-cv-11642-VM-DCF (S.D.N.Y.)

Dear Judge Freeman:

       We write on behalf of our client, Defendant Vincent Wenyong Shi (“Shi”), to
provide the legal support for Shi’s position that if the Receivership Order (Dkt. No.
26) is vacated, that it be vacated ab initio and Shi’s position as to the practical
ramifications of this result, as directed by this Court’s August 16, 2021 Order. (Dkt.
No. 251.)1

   I.      The Receivership Order Should be Void Ab Initio

    The Receiver acts “as an officer of the court” and his “authority is wholly
determined by the order of the appointing court.” Citibank, N.A. v. Nyland (CF8),
Ltd., 839 F.2d 93, 98 (2d Cir. 1988) (internal citation omitted). The Receivership
Order appointing the Receiver here was based on Plaintiff’s allegation that he had
standing to assert derivative claims against Link Motion and was, therefore, acting
in the interests of the corporation in bringing the action. Dkt. No. 26.

    As set out more fully in Shi’s briefing in support of vacating the receivership (Dkt.
Nos. 230, 246), Plaintiff never had such standing because he did not own shares of
the company; he was merely an ADS holder, making him a beneficial holder without
standing to assert derivative claims. This Court has rejected twice Plaintiff’s efforts
to rewind the clock to obtain standing ex post facto to assert such claims. Dkt. No.
221 (Magistrate Judge Freeman’s May 26, 2021 Order) & Dkt. No. 252 (District Judge
Marrero’s August 16, 2021 Order).

   Plaintiff Baliga’s lack of standing deprives this Court of subject matter
jurisdiction. EMI Entm't World, Inc. v. Karen Records, Inc., 2013 U.S. Dist. LEXIS
81470, at *5-6 (S.D.N.Y. June 10, 2013), citing Bender v. Williamsport Area Sch. Dist.,

1 All capitalized terms herein have the same meaning as in Shi’s opening Memorandum of Law in

Support of his Motion to Dissolve the Preliminary Injunction and Discharge the Receiver (Dkt. No.
230, “Opening Br.”).



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475 U.S. 534, 541-42, 106 S. Ct. 1326, 89 L. Ed. 2d 501 (1986) and also, e.g. Abortion
Rights Mobilization, Inc. v. Baker, 885 F.2d 1020, 1023 (2d Cir. 1989) (“when a
plaintiff lacks standing to bring suit, a court has no subject matter jurisdiction over
the case”). Similar to the facts of EMI Entm’t World where the parties were mistaken
that plaintiff owned copyrights giving it standing to assert claims of infringement,
here the parties and the Court were mistaken that Baliga had standing to bring
claims derivatively, giving him standing to make a claim for corporate
mismanagement sufficient to support the appointment of a receiver. If the Court here,
as did the court in EMI, determines that Plaintiff in fact lacks standing, the
Receivership Order is void, not merely voidable. Id. at *8 (“Because of this
jurisdictional flaw, the judgment is void.”).

    Because the order is void, any acts taken by the Receiver must be nullified. See
Action on Smoking & Health v. C.A.B., 713 F.2d 795, 797, 230 U.S. App. D.C. 1 (D.C.
Cir. 1983) (per curiam) (noting that “[t]o vacate, as the parties should well know,
means to annul; to cancel or rescind; to declare, to make, or to render, void; to defeat;
to deprive of force; to make of no authority or validity; to set aside,” and that vacatur
“had the effect of reinstating the rules previously in force”). This is in accord with
basic legal principles. A court without jurisdiction lacks authority to render
judgments or make orders. Because the Court’s action in appointing the Receiver was
“without authority,” “its judgments and orders are mere nullities, not voidable, but
simply void, protecting no one acting under them, and constituting no hindrance to
the prosecution of any right.” Weyant v. Okst, 101 F.3d 845, 854 (2d Cir. 1996),
quoting People ex rel. Tweed v. Liscomb, 60 N.Y. 559, 568 (1875). As the Receiver
derives all his power from the Court, when the Court lacks authority, so does the
Receiver. See Citibank, 839 F.2d at 98. Because the Receiver is an agent of the court,
when the Court’s orders are nullified and rescinded, so are the actions of the Receiver.
Id.

   Moreover, it is well-accepted that “judicial decisions are presumptively retroactive
in their effect and operation.” Lewis-Ramsey v. Evangelical Lutheran Good
Samaritan Soc'y, 215 F. Supp. 3d 805, 809 (S.D. Iowa 2016); see also Harper v. Va.
Dep't of Taxation, 509 U.S. 86, 97 (1993) (“When this Court applies a rule of federal
law to the parties before it, that rule is the controlling interpretation of federal law
and must be given full retroactive effect in all cases still open on direct review and as
to all events, regardless of whether such events predate or postdate our
announcement of the rule.”).2 Where a Court of Appeals overrules a District Court,
the decision of the District Court “is rendered a legal nullity as if it had never been
decided.” Tagaeva v. BNV Home Care Agency, Inc., No. 16-CV-6869 (RRM) (RLM),
2018 U.S. Dist. LEXIS 42081, at *8 (E.D.N.Y. Mar. 13, 2018), citing Hawknet, Ltd. v.

2 The only classes of cases that are excepted from the general retroactive application of judicial

decisions are cases involving qualified immunity and those involving the finality bar to habeas corpus
petitions. Sinoying Logistics PTE Ltd. v. Yi Da Xin Trading Corp., 619 F.3d 207, 215 (2d Cir. 2010).




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Overseas Shipping Agencies, 590 F.3d 87, 91 (2d Cir. 2009); accord Green, 2017 U.S.
Dist. LEXIS 162961, at *10-11.

    Courts in this district have applied these principles to find that where the court
lacked authority for its orders, subsequent actions taken based on those orders must
be vacated. For instance, in Lightray Imaging Inc. v. Tarek Invs. Ltd. (In re Peak
Hotels & Resorts Grp. Ltd.), 2019 U.S. Dist. LEXIS 55978 *44-45, 2019 WL 1434316
(S.D.N.Y. March 31, 2019), the court found that where the Bankruptcy Court erred
in sending a party into bankruptcy, the court lacked authority to take actions such
as appointing a trustee and permitting that trustee to replace the company’s board,
and thus, those subsequent actions were void ab initio. See also Fed. Sav. & Loan Ins.
Corp. v. PSL Realty Co., 630 F.2d 515, 521 (7th Cir. 1980).

    II.    The Expenses and Costs of the Receivership Should be Charged to
           the Plaintiff and Restitution Awarded to LKM.

      To date, the costs and expenses of the Receivership have been borne by the
Company. The Receiver has sought and obtained court approval for payment of
substantial fees and expenses and has paid a substantial portion of these amounts
from Company funds. (See, e.g., Dkt. Nos. 54, 59.) The Receiver has indicated to the
Court that he has additional costs and expenses that have not yet been approved or
paid because he has exhausted the Company’s funds. 3 Because the Receivership
Order is void ab initio, the Company should not bear those costs. As the Supreme
Court has long held, “a party against whom an erroneous judgment or decree has
been carried into effect is entitled, in the event of a reversal, to be restored by his
adversary, to that which he has lost thereby.” Arkadelphia Milling Co. v. St. Louis S.
R. Co., 249 U.S. 134, 145 (1919). “This right, so well founded in equity, has been
recognized in the practice of the courts of common law from an early period.” Id.

       Often, in cases where courts enter restraining or similar orders against a party
at the beginning of an action, a security or bond is required to be posted by the party
obtaining the order. If the order was wrongfully obtained, then the party restrained
can recover all damages it sustained against the security. See, e.g., U.S. D.I.D. Corp.
v. Windstream Communs., Inc., 775 F.3d 128 (2d Cir. 2014). Where, as here, no
security was posted by Plaintiff in support of the Receivership Order, the Company
is entitled to restitution. Arkadelphia, 249 U.S. at 145. A party that is improperly
restrained is entitled to equitable restitution from the party that obtained the
wrongful restraint. In re N.Y., N. H. & H. R. Co., 147 F.2d 40 (2d Cir. 1945); see also
Pub. Serv. Com. v. Brashear Frgt. Lines, Inc., 312 U.S. 621, 629 (1941) (“Under long
settled equity practice, courts of chancery have discretionary power to assess
damages sustained by parties who have been injured because of an injunctive

3
 The Receiver disclosed to the Court that he had exhausted the Company’s funds during the
October 15, 2020 conference.



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restraint ultimately determined to have been improperly granted.”). Here, Plaintiff
Baliga moved the Court for the Receivership Order, purportedly for the benefit of
“shareholders” like himself. We now know that Baliga was not a shareholder and the
Court lacked subject matter jurisdiction to appoint the Receiver and to preliminarily
enjoin the Company. The damage that resulted to the Company from the
Receivership, including the amounts paid to the Receiver and other amounts paid
from Company assets “ought not equitably to be saddled on [the Company] but on the
part[y] for whose supposed benefit the restraint was imposed,” i.e., Plaintiff Baliga.
In re N.Y., N. H. & H. R. Co., 147 F.2d at 48; see also Pub. Serv. Com., 312 U.S. at
629-30 (directing district court to assess costs of litigation against parties that
obtained the wrongful restraint). Baliga should repay to the Company what has been
paid to the Receiver and any agents or other professionals retained by him during the
Receivership, and Baliga should be required to satisfy any obligations incurred by the
Receiver and his agents.

   III.   The Practical Ramifications of Voiding the Receivership

   The Court has requested that the parties address the practical effects of voiding
the Receivership Order ab initio. Shi recognizes that unwinding the Receiver’s actions
taken over the past 18 months will take some time. In addition, the Company’s
Directors do not have full knowledge of, or access to, what the Receiver has done in
the Company’s name. That does not mean that the Court should avoid nullifying the
Receivership Order. Several steps can, and should, have immediate effect.

   Restoration of Director(s) & Control of the Company – The Court should
order that Shi and any other Directors as of December 2019 are reinstated to the
extent the Receiver purported to remove them, and declare that they have full power
over the affairs of the Company. The Directors must have immediate authority to
protect the Company and its assets.

   Bank Accounts – The Court should order the Receiver and his agent in China to
immediately transfer control of all Company bank accounts, including those recently
opened, to a corporate officer selected by the Company’s Directors by written board
action or at a duly called meeting of the Directors.

   Authority to Act – The Court should immediately direct the Receiver and his
agent in China to deliver to the Directors all physical manifestations of the
Company’s authority to act, including but not limited to removal of the legal
representatives appointed by the Receiver and his agents.

    Accounting of Receiver’s Actions – The Court should require the Receiver to
fully account for his term as receiver within 15 days of entry of an order voiding the
Receivership Order. The Court should also require the Receiver to cooperate with the




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Company’s Directors to understand the report and assist the Directors in the steps
necessary to reassert control and authority over the Company’s affairs.

   Order of Restitution – Upon an accounting of the costs of the Receiver’s actions,
including for example the amounts paid to the Receiver, and the cost of judgments
entered against the Company as a result of the actions of the Receiver and his agents,
the Court should order Plaintiff to pay restitution to the Company for all such
amounts that resulted from the erroneous appointment of the Receiver.

    The Company’s Directors should be afforded other opportunities to evaluate the
debts incurred and other actions taken by the Receiver and his agent. The Board of
Directors will then be able to determine an appropriate course of action with respect
to restoring the Company to the status quo ante. It may be that the Company will
need to assert claims for damages against the Plaintiff here (as is often done in
circumstances where a preliminary injunction or restraining order was wrongfully
obtained) or against the Receiver and his agent, for failing to preserve and protect
the Company and its assets during the time he was in control of the Company. The
Company’s Directors will need time to assess what the Receiver has done over the
past 18 months and determine an appropriate way forward. In any event, as laid out
in Section II, the Plaintiff should bear the costs of the Receivership and refund to the
Company all amounts that the Receiver paid himself, his law firm, or his agents.

   For all the foregoing reasons and those in Shi’s moving papers, the Court should
void and dissolve the Receivership, declare all actions of the Receiver during the
period of the Receivership void ab initio, order the Receiver to take all actions and
execute all instruments necessary to return the Company’s Board of Directors to the
status quo ante before the appointment of the receiver, order the Receiver to take all
actions and execute all instruments necessary to return to the Board of Directors all
rights to legal claims and control over the Company and its assets, including the
removal of Guo Lilin as director and from all positions and/or offices to which he was
appointed by or through the Receiver, order the Receiver to account for all actions
taken and monies received in connection with the Receivership and expenses incurred
as a result of the Receivership, and find that the Plaintiff is responsible for all costs
and expenses incurred in connection with the Receivership.

                                                                Sincerely,

                                                                /s/ Michael James Maloney

                                                                Michael James Maloney




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